                            Case 1:17-cv-01475-AJT-JFA Document 1-1 Filed 12/26/17 Page 1 of 2 PageID# 9
                                                         Exhibit A to the Complaint
                                                                                                        IP Address: 71.62.173.224
Location: Ashburn, VA
Total Works Infringed: 24                                                                               ISP: Comcast Cable


 Work        Hash                                         Site                UTC           Published         CROApp. File     CRO Number
                                                                                                              Date

 1           FD622BCB0843A8B0A5C4FAAD98CA90F0DC55A559     Blacked             10/16/2017    09/22/2017        10/02/2017       PA0002057455
                                                                              13:16:27

 2           0F35B475E5AA4FFC774BBB038AEDBD8FF112F9E9     Blacked             08/20/2017    04/15/2017        06/15/2017       PA0002037563
                                                                              11:40:50

 3           1487A26EAAAD70318258AB9F506506A8F293533A     Blacked             08/20/2017    05/05/2017        06/15/2017       PA0002037591
                                                                              11:01:25

 4            1A032CB38BB2AF87DAF2B239A1A17B6C713EBC26    Blacked             08/20/2017    08/03/2017        08/17/2017       15732904092
                                                                              10:53:51

 5            1D63168E762F9CB41AE4DBD6646599AD0EFF3911    Blacked             08/20/2017    07/09/2017        08/17/2017       15732782151
                                                                              11:08:37

 6            23C75D98A22B6821F255E85F2ED58CC5CEC8E2DD    Blacked             10/16/2017    09/27/2017         10/10/2017      PA0002057451
                                                                              13:10:26

 7            3C75DF0338469C899BB90D1928DCB245E2B3C2CF    Blacked             08/20/2017    05/25/2017         06/22/2017      PA0002039290

                                                                              10:43:08

 8            65CF8DA2D031F334F39B20014B15DA107B9EAA15     Blacked            08/20/2017    08/08/2017         08/17/2017      15732904191
                                                                              11:47:35

  9           687D75FAFF683791D3E62154C9328397BD23DE7F     Vixen               11/17/2017   04/19/2017         06/15/2017      15389210409
                                                                              02:16:57

  10          71E3A2888C2DB58BBCE9353A68D2FF80359E304A     Blacked             10/16/2017   06/29/2017         07/06/2017      15584063973
                                                                               13:16:30

     11       72F519FE9EED3C466979E55CFEBF253309A8106C     Vixen               05/22/2017   05/14/2017         06/22/2017      PA0002039297
                                                                               02:56:51

     12       901129DA9629352ECBB99FF90FE06A5F749AF4DD     Blacked             10/16/2017   09/12/2017         09/20/2017      PA0002052846
                                                                               13:11:41

     13       9642336EA4BCA83AB7154CFDFA1091ECBFD98B7A     Blacked             10/16/2017   09/17/2017         09/25/2017      15894023110
                                                                               13:39:54

     14       AB2C2652EC78AC4AD337CC03DF87E970DCED6443     Blacked             08/20/2017   06/04/2017         07/06/2017      15584691223
                                                                               11:18:59

     15       ABC387F8CA3DD6A0A11B2F4EB9368F62B219CF6C     Blacked             10/17/2017   07/29/2017         08/11/2017      PA0002046872
                                                                               00:12:49

     16       AFA4C44023577E2A90E1CFA8DB69A6F5D035B1D2     Blacked             10/16/2017   09/07/2017         09/14/2017      PA0002052840
                                                                               13:09:06
                  Case 1:17-cv-01475-AJT-JFA Document 1-1 Filed 12/26/17 Page 2 of 2 PageID# 10

Work   Hash                                       Site        UTC           Published    CRO App. File   CRO Number
                                                                                         Date

17     B79E6D425A2DD1E64539D44E12EB1DC8166FA68A   Blacked     09/09/2017    08/23/2017   08/24/2017      15894022831
                                                               18:12:22

18     BA56E328AE2DBA8A20B327451656293E37FDAE35   Blacked      10/16/2017   05/15/2017   06/22/2017      PA0002039283
                                                               16:34:27

19     CA328163FA3ADE41786B2BE2C246F9EB7AE2EEA4   Blacked      10/16/2017   06/09/2017   07/06/2017      15584064165
                                                               13:19:56

20     CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D   Blacked      06/21/2017   06/19/2017   07/06/2017      15584064069
                                                               00:55:30

21     D31CBC39E31EA20141EB847E24725F06CFC004AB   Blacked      10/18/2017   04/05/2017   06/05/2017      PA0002052859
                                                               14:26:07

22     D629C1BE08933BB60DF199F6F24E3812EA2C6C73   Blacked      10/16/2017   10/12/2017   10/22/2017      PA0002058296
                                                               13:09:15

23     E69BB37CE99BE570CC9EB659F45DDEF6E740E3BE   Blacked      10/16/2017   08/13/2017   08/17/2017      15732986356
                                                               13:30:12

24     EE39528C7065FF52B465D599BA395BF972CD06E6   Blacked      08/20/2017   04/30/2017   06/15/2017      PA0002037580
                                                               11:45:13
